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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TENNESSEE
                                       WESTERN DIVISION


TANYA GILBERT,

         Plaintiff,

vs.                                                        Docket No. 2:12-cv-02837-SHM-cgc

NATIONWIDE PROPERTY AND
CASUALTY INSURANCE COMPANY,

         Defendant.



                              MOTION TO DISMISS COUNTS 1, 3, 4 & 5


         Defendant Nationwide Property and Casualty Insurance Company ("Nationwide"), by

and through counsel, files this Motion to Dismiss certain counts of the Plaintiff's Complaint

pursuant to Rule 12 of the Federal Rules of Civil Procedure.         In support of its Motion,

Nationwide states that the Plaintiff's Breach of Contract claim is subject to dismissal because

consequential damages are not available due to the exclusive nature of the bad faith statute.

Similarly, the Plaintiff's Tennessee Consumer Protection Act claim is subject to dismissal under

Tennessee Code Annotated section 56-8-113. Finally, the Plaintiff's Common Law Bad Faith

and Punitive Damages claims are also subject to dismissal under Tennessee law because the

Statutory Bad Faith Provisions of Tennessee Code Annotated section 56-7-105 provide the

exclusive remedy for alleged bad faith in handling an insurance claim.

         In support of its Motion, Nationwide submits contemporaneously herewith a

Memorandum in Support.




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                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ, PC

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                                                        Attorneys for Nationwide Property and
                                                        Casualty Insurance Company


                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this 2nd day of November, 2012, a copy of the

foregoing was electronically filed and served on the parties listed below via first class mail,

postage prepaid, unless said party is a registered CM/ECF participant who has consented to

electronic notice, and the Notice of Electronic Filing indicates that Notice was electronically

mailed to said party:

                             R. Sadler Bailey
                             John Zuck
                             Nicole Gibson Davison
                             6256 Poplar Avenue
                             Memphis, TN 38119




                                                   /s/ Steven W. King




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